     Case 2:12-cr-00063-APG-CWH           Document 148      Filed 08/05/13    Page 1 of 2



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 4                        UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                           ***
 7
                                                  )
 8   UNITED STATES OF AMERICA,                    )       2:12-CR-00063-PMP-CWH
                                                  )
 9                        Plaintiff,              )              ORDER
                                                  )
10          vs.                                   )
                                                  )
11   LELAND JONES, ROSS HACK and                  )
     MELISSA HACK,                                )
12                                                )
                          Defendants.             )
13                                                )
14
            On February 28, 2012, the Federal Grand Jury sitting at Las Vegas, Nevada,
15
     returned an Indictment (Doc. #1) charging Defendant Leland Jones together with co-
16
     Defendants Ross Hack and Melissa Hack, with the crimes of murder, and use of a
17
     firearm in a crime of violence on federal land in violation of Title 18 U.S.C. §§ 1111,
18
     924, 7 and 2. Defendant Jones has been represented by appointed counsel since his
19
     first appearance before this Court. Notwithstanding that fact, Defendant Jones has
20
     persisted in attempting to file motions in proper person in violation of Local Rule IA
21
     10-6(a). Defendant Jones’ efforts to do so have been rebuffed by the Court.
22
            On June 14, 2013, Defendant Jones filed a Motion for Exemption for Local
23
     Rule IA 10-6(a). (Doc. #139). Defendant Jones’ Motion came on for hearing before
24
     the Honorable Carl W. Hoffman, United States Magistrate Judge on June 24, 2013 at
25
     which the Court conducted a hearing outside the presence of Government counsel and
26
     thereafter denied Defendant Jones’ Motion (Doc. #141).
     Case 2:12-cr-00063-APG-CWH          Document 148        Filed 08/05/13   Page 2 of 2



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 2          On July 8, 2013, Defendant Jones filed an “Appeal” before the Ninth Circuit
 3   Court of Appeal (Doc. #142) which the Clerk of this Court correctly re-styled as an
 4   Objection to the Magistrate Judge’s Order (See Doc. #143). On July 23, 2013,
 5   Defendant Jones filed a second Motion for Exemption from Local Rul IA 10-6(a).
 6   (Doc. #146). On July 23, 2013, the Government filed a Response to Defendant Jones’
 7   Objections (Doc. #147).
 8          Having reviewed the proceedings conducted before Magistrate Judge Hoffman
 9   on June 24, 2013, as well as the arguments of Defendant Jones and Government
10   counsel filed in connection therewith, the Court finds Defendant Jones has not
11   established a “special need” to entitle exemption from Local Rule IA 10-6(a) and that
12   no good cause exists to warrant allowing Defendant Jones to litigate motions pro se in
13   this case as he is well represented by able court appointed counsel. United States v.
14   Olano, 62 F. 3d 1180 (9th Cir. 1995).
15                 IT IS THEREFORE ORDERED that Defendant Jones’ Objections
16   (Docs. #142 & #146) are OVERRULED, and the Order of Magistrate Judge Hoffman
17   (Doc. #141) denying Defendant Jones’ Motion for Exemption from Local Rule IA 10-
18   6(a) (Doc. # 139) is hereby AFFIRMED.
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20   Dated: August 5, 2013.
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22
                                                       PHILIP M. PRO
23                                                     United States District Judge
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                                             Page 2 of 2
